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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     March 3, 2021

Via ECF
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:    United States v. Geovanny Fuentes Ramirez, S6 15 Cr. 379 (PKC)

Dear Judge Castel:

                We write in response to the defendant’s letter of earlier today seeking a trial
adjournment. On March 1, 2021, the Government served a subpoena on the Metropolitan
Correctional Center for the defendant’s prison calls and emails for the month of February. On
March 2, 2021, the Government received calls and emails in response to that subpoena and
produced them to the defendant the same day. The production included a detailed log that
identified, for each call, the individual contacted by the defendant. Based on the Government’s
review of those calls and emails, the Government does not intend to introduce any of them at trial.
As a result, the defendant’s request for a trial adjournment should be denied.

                                                           Respectfully submitted,

                                                           AUDREY STRAUSS
                                                           United States Attorney

                                                     By:      /s/
                                                           Jacob Gutwillig
                                                           ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ___ ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ _




                                                           Matthew Laroche
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Cc:    Defense Counsel
       (Via ECF)
